Case 0:23-cv-60345-JB Document 277-2 Entered on FLSD Docket 06/20/2024 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  HEAD KANDY, LLC,

         Plaintiff/Counterclaim Defendant,

  v.                                                               CASE NO. 23-CV-60345-JB/JMS

  KAYLA MARIE MCNEILL,
         Defendant/Counterclaimant/Third-Party Claimant,
  v.
  JEROME FALIC and JONATHAN ROSENBAUM,
         Third-Party Defendants.
                                                               /

                         [PROPOSED] ORDER GRANTING MOTION
                 FOR APPROVAL TO DEPOSIT FUNDS INTO COURT REGISTRY

         This matter comes before the Court on Defendant/Counterclaimant/Third-Party Claimant Kayla

  McNeill’s Motion for Approval to Deposit Funds into Court Registry (the “Motion”). Having considered

  the Motion, the file and otherwise being fully informed, the Court hereby:

         ORDERS that the Motion is GRANTED.

         FURTHER ORDERS that the Clerk of the Court shall accept funds from Ms. McNeill in

  the amount of $4,500 for deposit into the Court Registry. The funds may only be distributed upon

  further order of the Court and solely for the purpose of resolving Plaintiff/Counterclaim Defendant

  Head Kandy, LLC’s Expedited Motion to Enforce the Preliminary Injunction, for an Order to

  Show Cause, and for Civil Contempt Sanctions [ECF No. 266].

         DONE AND ENTERED this                          day of                        , 2024, nunc

  pro tunc, June 20, 2024.
Case 0:23-cv-60345-JB Document 277-2 Entered on FLSD Docket 06/20/2024 Page 2 of 2




                                      BY THE COURT:



                                      Jared M. Strauss
                                      United States Magistrate Judge




                                         2
